                   Case 3:22-cv-05325-DGE Document 60 Filed 06/21/22 Page 1 of 7



 1                                                         THE HONORABLE DAVID G. ESTUDILLO
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 6
                                     UNITED STATES DISTRICT COURT
 7                                  WESTERN DISTRICT OF WASHINGTON
 8                                            AT TACOMA

 9

10   MAVERICK GAMING LLC,                               No. 22-cv-05325 DGE
11                     Plaintiff,                       STIPULATED MOTION AND PROPOSED
                                                        ORDER FOR RELIEF FROM DEADLINES
12
              v.                                        AND FOR BRIEFING SCHEDULE ON
13                                                      DISPOSITIVE CROSS-MOTIONS
     UNITED STATES OF AMERICA, et al.,
14
                                                        NOTE ON MOTION CALENDAR: June 21,
                       Defendants.                      2022
15

16

17            Pursuant to LCR 7(d)(1), LCR 7(k), and LCR 10(g), the parties submit this stipulated

18   motion and proposed order for a briefing schedule on dispositive cross-motions and for relief from

19 discovery-related deadlines.

20            On May 16, 2022, this Court entered an Order Regarding Initial Disclosures, Joint Status

21 Report, Discovery, Depositions, and Early Settlement. See Dkt. # 57. That order requires the

22 parties both to conduct a Fed. R. Civ. P. 26 conference by August 1, 2022 and to submit a joint

23 status report by August 15, 2022. It also requires the parties to exchange Fed. R. Civ. P. 26 initial

24 disclosures by August 8, 2022.

25            The parties in this case jointly request relief from the aforementioned deadlines and request

26 that the Court enter a briefing schedule related to dispositive motions that might expedite
     consideration of this case.

                                                       1
      STIPULATED MOTION AND PROPOSED ORDER FOR RELIEF FROM                            Brennan Legal, PLLC
                                                                                          P.O. Box 1384
      DEADLINES AND FOR BRIEFING SCHEDULE ON DISPOSITIVE CROSS-
                                                                                   144 Railroad Ave. S., Ste. 308
      MOTIONS                                                                         Edmonds, WA 98020
      (3:22-cv-05325 DGE)                                                                (425) 967-3550
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 1            Plaintiff Maverick Gaming LLC (Maverick) represents that it has brought this action
 2   challenging the legality of (1) the federal defendants’ approval of recent sports-wagering
 3 amendments to the State of Washington’s class III gaming compacts with federally recognized

 4 Indian tribes; (2) the state defendants’ execution and administration of Washington’s class III

 5 state-tribal gaming compacts; and (3) the state defendants’ enforcement of Washington’s criminal

 6 class III gaming prohibitions. See Dkt. # 1. Defendants have not yet answered or responded to

 7 Maverick’s operative complaint and reserve all rights to respond and assert affirmative defenses.

 8            The parties have conferred and have agreed that Plaintiff’s complaint (Dkt. # 1) presents
 9 questions of law that appear to be resolvable through dispositive motions (e.g., motions to dismiss

10 or for summary judgment) without the need for factual discovery. The parties do not expect that

11 discovery or an evidentiary hearing will be necessary. Accordingly, in the interest of efficiency,

12 uniform deadlines, and conserving the time and resources of counsel and the Court, the parties

13 respectfully request that the Court enter the following schedule:

14            1. Plaintiff shall have up to and including July 1, 2022 to file any First Amended
15                 Complaint.
16            2. Defendants shall be relieved of any obligation to serve and file any answers to
17                 Plaintiff’s operative complaint, unless there are claims that remain pending after the
18                 Court has ruled on all dispositive motions, in which case Defendants shall have 20 days
19                 after the Court has resolved all dispositive motions to answer Plaintiff’s operative
20                 complaint.
21            3. The Federal Defendants shall have up to and including July 15, 2022 to file the
22                 administrative record.
23            4. Plaintiff shall have up to and including August 12, 2022 to file any dispositive motion
24                 that shall not exceed 30 pages.
25            5. Defendants shall have up to and including September 12, 2022 to file any dispositive
26                 motions and to file any responses to Plaintiff’s dispositive motion. The Federal


                                                        2
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 1                 Defendants 1 and the State Defendants 2 shall be permitted to file one combined brief
 2                 each, not to exceed 30 pages, in support of their dispositive motions and responding to
 3                 Plaintiff’s dispositive motion.
 4            6. Plaintiff shall have up to and including October 12, 2022 to file any response to
 5                 Defendants’ dispositive motions and to file any reply in support of its dispositive
 6                 motion. Plaintiff shall be permitted to file one combined brief, not to exceed 40 pages,
 7                 replying to Defendants’ responses to its dispositive motion and responding to
 8                 Defendants’ dispositive motions.
 9            7. Defendants shall have up to and including November 2, 2022 to file any replies in
10                 support of their dispositive motions. The Federal Defendants and the State Defendants
11                 shall be permitted to file one brief each, not to exceed 15 pages, replying to Plaintiff’s
12                 responses to their dispositive motions.
13            8. The parties are relieved of any obligation to meet and confer under Fed. R. Civ. P.
14                 26(f ), to file initial disclosures under Fed. R. Civ. P. 26(a)(1), and to file a combined
15                 joint status report and discovery plan under Fed. R. Civ. P. 26(f), unless otherwise
16                 ordered by the Court.
17            The parties recognize that the page limits indicated above exceed the default length for
18   briefs specified in LCR 7(e)(3). However, as contemplated by LCR 7(k), the parties submit that
19   the proposed enlarged page limits are consistent with the goal of promoting efficiency, because
20

21             1
                 The Federal Defendants are the United States of America, United States Department of the Interior,
     Deb Haaland in her official capacity as Secretary of the Interior, and Bryan Newland in his official capacity as
22   Assistant Secretary – Indian Affairs.
               2
                 The State Defendants are Jay Inslee in his official capacity as the Governor of Washington, Robert Ferguson
23   in his official capacity as the Attorney General of Washington, Bud Sizemore in his official capacity as Chair of the
     Washington State Gambling Commission, Julia Patterson in her official capacity as Vice-Chair of the Washington
24   State Gambling Commission, Alicia Levy in her official capacity as Commissioner of the Washington State Gambling
     Commission, Kristine Reeves in her official capacity as Commissioner of the Washington State Gambling
25   Commission, Sarah Lawson in her official capacity as Commissioner of the Washington State Gambling Commission,
     Steve Conway in his official capacity as ex officio member of the Washington State Gambling Commission, Jeff Holy
26   in his official capacity as ex officio member of the Washington State Gambling Commission, Shelley Kloba in her
     official capacity as ex officio member of the Washington State Gambling Commission, Brandon Vick in his official
     capacity as ex officio member of the Washington State Gambling Commission, and Tina Griffin in her official capacity
     as Interim Director of the Washington State Gambling Commission.
                                                               3
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 1   the parties will be filing combined motions/responses/replies on a four-brief schedule instead of
 2   separate briefs on a six-brief schedule, and also because Plaintiff will be responding and replying
 3 to two briefs instead of one. The parties also request oral argument on the dispositive motions.

 4 The parties preserve all arguments and defenses; no party waives any argument or defense by

 5 entering into and filing this joint motion, except as expressly stated above.

 6            A proposed order is appended to this stipulated motion pursuant to LCR 10(g).
 7
              DATED June 21, 2022.
 8
              Presented by:
 9
                                               BRENNAN LEGAL, PLLC
10

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25                                             Attorneys for Plaintiff Maverick Gaming LLC

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 1                                               ORDER
 2           It is so ordered.
 3
             Dated this ___ day of June, 2022.
 4

 5                                                       UNITED STATES DISTRICT JUDGE
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 1                                     CERTIFICATE OF SERVICE
 2            I hereby certify that on this date I caused the foregoing document to be electronically filed
 3
     with the Clerk of the Court using the CM/ECF system which sends notification of the filing to all
 4
     counsel of record.
 5
              DATED June 21, 2022.
 6

 7                                           /s/ Thomas M. Brennan
                                             Thomas M. Brennan
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